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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION


    BRAMAN MOTORS, INC., d/b/a
    BRAMAN BMW, for itself and in the
    name of the Department of Highway Safety
    and Motor Vehicles of the State of Florida,
    for its use and benefit, and                    Case No. 1:17-cv-23360-DPG

    PALM BEACH IMPORTS, INC., d/b/a
    BRAMAN MOTORCARS, for itself and
    in the name of the Department of Highway
    Safety and Motor Vehicles of the State of
    Florida, for its use and benefit, and

    The DEPARTMENT OF HIGHWAY
    SAFETY AND MOTOR VEHICLES of
    the State of Florida, for the use and benefit
    of Braman Motors, Inc. and Palm Beach
    Imports, Inc.,

                    Plaintiffs,

                        v.

    BMW OF NORTH AMERICA, LLC,

                    Defendant.




    PLAINTIFFS’ OPPOSITION TO DEFENDANT’S MOTION TO DISMISS FOR LACK
                     OF SUBJECT MATTER JURISDICTION
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           Plaintiffs Braman Motors, Inc. and Palm Beach Imports, Inc. (collectively, “Plaintiffs” or

   “Braman”), by and through its counsel ArentFox Schiff LLP, respectfully submit this

   memorandum of law in opposition to Defendant BMW of North America, LLC’s (“BMW”)

   Motion to Dismiss the Remaining Claims of the Fourth Amended Complaint for Lack of Subject

   Matter Jurisdiction (ECF No. 391, the “Motion”).


                                                 INTRODUCTION

           On September 6, 2017, Braman sued BMW asserting several claims, of which three

   remain: Counts III, IV, and X. Each claim relates to BMW’s violation of Fla. Stat. § 320.64(42)

   (the Florida Dealer Act), which regulates performance metrics. Each claim seeks injunctive relief

   under § 320.695 to stop BMW from using unlawful performance metrics to evaluate Braman’s

   sales and service performance and determine whether Braman qualifies for tens of millions of

   dollars in sales incentives.

           At the eleventh hour, over five years later, BMW now asserts for the first time that the

   Court lacks subject matter jurisdiction over Plaintiffs’ § 320.695 claims. BMW proffers this late

   and unsupported argument despite it previously removing § 320.695 claims from state court to this

   very court. See, e.g., Pompano Imports, Inc. v. BMW of North America, LLC, 15-cv-23491-

   MORENO. 1 In support of its changed position, BMW argues that: (1) there is no diversity

   jurisdiction because Braman’s claim for injunctive relief is a criminal action and not a civil action;

   and (2) Section 320.695 requires that all claims be brought in a Florida circuit court. BMW cites

   no binding or persuasive authority in support of either of these arguments. To the contrary, both

   case law and common sense directly contradict BMW’s arguments.



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    The Pompano case was later remanded for the unrelated reason that the parties lacked diversity of citizenship. 15-
   cv-23491, ECF No. 46.

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             The Florida Dealer Act is a civil remedial statute intended to protect dealers from the

   abuses of manufacturers. Plaintiffs are seeking injunctive relief that would prevent BMW from

   continuing to use unfair, arbitrary, and unreasonable metrics to evaluate Plaintiffs’ performance

   and determine whether Braman qualifies to receive tens of millions of dollars in sales incentives.

   Braman is not seeking any criminal penalties, and of course has no ability seek criminal penalties;

   neither § 320.695 nor any other provision of Florida law authorizes Braman or any party other than

   a State Attorney or the Statewide Prosecutor to initiate criminal proceedings. As a civil case with

   diversity of citizenship of the parties, the Court has subject matter jurisdiction over Braman’s

   claims.

             BMW’s alternative argument that § 320.695 requires Braman to file this action in a Florida

   state circuit court is equally unavailing. Not only does § 320.695 have no requirement that parties

   file in state court, but controlling Eleventh Circuit case law dictates that district courts maintain

   subject matter jurisdiction even when state statutes purport to require parties to litigate in state

   court. As the Eleventh Circuit has made clear, states cannot deprive parties of a federal forum.

             For all of these reasons, the Court should deny the Motion and specially set this matter for

   bench trial.


                                               ARGUMENT

     I.      The Court Has Diversity Jurisdiction Over the Remaining Claims.

             BMW does not dispute that the traditional elements for subject matter jurisdiction under

   28 U.S.C. § 1332(a) are met with respect to each remaining claim. Specifically, BMW does not

   dispute that the parties are completely diverse, and further does not dispute that the value of the

   injunctions sought well exceeds the $75,000 amount in controversy threshold for diversity

   jurisdiction. See 28 U.S.C. § 1332(a). Instead, BMW argues that diversity jurisdiction does not

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   exist because the remaining claims are criminal claims. BMW argues that the claims for injunctive

   relief are criminal because they are brought by Plaintiffs on behalf of the Florida Department of

   Highway Safety and Motor Vehicles.

          BMW’s argument is both novel and unsupported. First, “diversity jurisdiction is

   determined at the time of filing the complaint or, if the case has been removed, at the time of

   removal.” PTA-FLA, Inc. v. ZTE USA, Inc., 844 F.3d 1299, 1306 (11th Cir. 2016) (citing Grupo

   Dataflux v. Atlas Global Group, L.P., 541 U.S. 567, 570 (2004) (“It has long been the case that

   the jurisdiction of the court depends upon the state of things at the time of the action brought”).

   Even subsequent events that occur after removal (e.g., a party reduces the claim below the requisite

   amount or a party is dismissed), do not deprive the district court of jurisdiction. See id.; see also

   Webb v. Scottsdale Ins. Co., CASE NO. 21-22053-CIV-WILIAMS/MCAILIEY, 2021 WL

   4993266, at *1-2 (S.D. Fla. Aug. 16, 2021) (denying motion to remand that was based on damages

   estimate prepared after removal). No such subsequent events have occurred in this case, but even

   if they had, this Court would still have jurisdiction over Plaintiff’s claims.

          Second, there have been no § 320.695 claims in either state or federal court to which the

   presiding court applied the rules of criminal procedure or criminal standards of proof. To the

   contrary, courts have routinely applied the rules of civil procedure and civil standards of proof.

   This stands to reason, as nowhere does Florida law indicate that § 320.695 claims are criminal in

   nature. BMW’s baseless argument to the contrary implicitly relies on the false premise that state

   regulatory agencies cannot bring civil actions against the parties they regulate, and that they may

   initiate only criminal actions. To the contrary, administrative agencies have authority to bring civil

   actions enforcing regulatory law; they are not limited to enforcing only criminal violations. More

   to the point, the Department of Highway Safety and Motor Vehicles has no authority to initiate



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   criminal proceedings. See Florida Constitution, Article IV, Section 4; Florida Constitution, Article

   V, Section 17 (providing that the power to prosecute violations of criminal laws is vested in state

   attorneys and the statewide prosecutor). Even BMW in prior cases has rejected the novel argument

   it now proffers; BMW has removed other § 320.695 claims from state court to federal court. See,

   e.g., Pompano Imports, Inc. v. BMW of North America, LLC, 15-cv-23491-MORENO (ECF No.

   1 ¶ 15) (representing that Plaintiff’s action, which included § 320.695 claims “is a civil action

   over which this court has diversity jurisdiction”).

          In an attempt to support its change of heart about proceeding with a bench trial in federal

   court, BMW points to § 320.70 of the Florida Dealer Act, which states that a manufacturer found

   to have violated § 320.64 “shall be guilty of a misdemeanor of the first degree, punishable as

   provided in § 775.082 or § 775.083.” From there, BMW makes the logical leap that any § 320.695

   claim alleging violations of § 320.64 is “solely a criminal enforcement action where Plaintiffs have

   assumed the role of government regulator….” Motion at 3. Not only is there no justification for

   that leap of logic, but by that rationale, claims for damages brought by dealers under § 320.697

   alleging violations of § 320.64 would similarly be “criminal enforcement actions,” because they

   too seek a judgment that a manufacturer violated § 320.64. The fact that violations of § 320.64 can

   support both civil and criminal claims does not somehow convert civil claims alleging violations

   of § 320.64 into criminal claims.

          The lone case cited by BMW to support its argument is inapposite. In Florida v. Morales,

   Case No: 6:18-cv-1937-Orl-40TBS, 2018 WL 6919513 (M.D. Fla. Jan. 2, 2019), a criminal

   defendant defending against criminal drug charges brought by the State Attorney attempted to

   remove the charges from state court to federal court. The criminal case was pending in the Circuit

   Court of the Ninth Judicial Circuit, and the defendant sought to remove the case to federal court,



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   arguing that removal was proper based on the existence of diversity of citizenship and multiple

   federal questions raised. Id. at *1. The court found Morales’s motion for removal to be meritless,

   because 28 U.S.C. § 1332 and § 1331 “speak solely to civil actions.” See id. (emphasis in original).

   Morales dealt with criminal charges under criminal statutes seeking criminal penalties filed by the

   State Attorney in accordance with the Florida Rules of Criminal Procedure; it does not support

   BMW’s argument that an action filed by a dealer against a manufacturer and seeking injunctive

   relief is a criminal action. Indeed, no case supports anything remotely close to BMW’s position—

   because that position is incorrect and inconsistent with BMW’s own position in prior cases.

          The sole remedy available under § 320.695 is injunctive relief, which is precisely what

   Braman seeks:

          In addition to the remedies provided in this chapter, and notwithstanding the
          existence of any adequate remedy at law, the department, or any motor vehicle
          dealer in the name of the department and state and for the use and benefit of the
          motor vehicle dealer, is authorized to make application to any circuit court of the
          state for the grant, upon a hearing and for cause shown, of a temporary or permanent
          injunction, or both, restraining any person from … violating or continuing to violate
          any of the provisions of ss. 320.60 – 320.70, or from failing or refusing to comply
          with the requirements of this law or any rule or regulation adopted hereunder. Such
          injunction shall be issued without bond. A single act in violation of the provisions
          of ss. 320.60 – 320.70 shall be sufficient to authorize the issuance of an
          injunction….


          Simply put, this is a civil case, and 28 U.S.C. § 1332 therefore provides for subject matter

   jurisdiction. BMW’s argument must be rejected.

    II.   Section 320.695 Does Not and Cannot Preclude a Federal Court from Exercising
          Subject Matter Jurisdiction.

          BMW argues that, because Section 320.695 states that a motor vehicle dealer “is authorized

   to make application to any circuit court of the state for the grant, upon a hearing and for cause

   shown, of a temporary or permanent injunction…,” this means that a dealer cannot bring any



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   claims under § 320.695 in federal court. BMW cites no case law that supports this argument.

   Instead, BMW cites to one case that involves the Florida Dealer Act: Winter Park Imports, Inc. v.

   JM Auto II, Inc., No. 48-2005-CA-005466-O, 2008 WL 8854630 (Fla. Cir. Ct. Apr. 16, 2008). But

   Winter Park Imports involved an analysis of what constitutes a “distributor” or “manufacturer”

   under § 320.60(5); the case had nothing to do with determining whether the Florida legislature

   intended to limit jurisdiction over § 320.695 claims to state courts, let alone whether federal law

   permits such a limitation.

           The language of Section 320.695 “authorizes” aggrieved parties to seek relief in state court,

   but does not require them to do so and does not preclude such parties from seeking relief in federal

   court. It does not purport to vest “exclusive jurisdiction” in state court. Indeed, the language of §

   320.64 states that “[a] motor vehicle dealer who can demonstrate that a violation of, or failure to

   comply with, any of the preceding provisions by an applicant or licensee will or may adversely

   and pecuniarily affect the complaining dealer, shall be entitled to pursue all of the remedies,

   procedures, and rights of recovery available under ss. 320.695 and 320.697.” (emphasis added).

   It would be nonsensical to interpret this language as requiring a dealer to bring claims for injunctive

   relief under § 320.695 exclusively in state court but allowing claims for damages under § 320.697

   in federal court, particularly when dealers often bring both claims and seek both forms of relief as

   a result of manufacturers violating the Florida Dealer Act. Florida did not attempt to limit these

   remedies to exclusive state court jurisdiction.

           But alternatively, even if the Florida legislature intended to insulate parties from federal

   court, the constitutional and statutory federal rights of diverse parties to seek relief in federal court

   displaces and is supreme to Florida law. See U.S. Constitution, Article III, Section 2 (“The judicial

   Power shall extend … to Controversies … between Citizens of different States.”); 18 U.S.C. §



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   1332 (providing for diversity jurisdiction); U.S. Constitution, Article VI (“This Constitution, and

   the laws of the United States which shall be made in pursuance thereof; and all treaties made, or

   which shall be made, under the authority of the United States, shall be the supreme law of the land;

   and the judges in every state shall be bound thereby, anything in the Constitution or laws of any

   State to the contrary notwithstanding.”). Florida simply does not have the power to limit the

   authority or jurisdiction of federal courts as enumerated by the United States Constitution and

   federal statute.

           BMW disputes this basic foundational principle with reference to three unreported district

   court rulings from other circuits, each of which BMW misconstrues. In Gentry v. Kirkman, a

   district court in Kentucky did not rule on subject matter jurisdiction, but instead abstained from

   considering the case under the doctrine of Burford abstention. See Civil Action No. 1:06CV-52-

   M, 2006 WL 2078422, at *2 (W.D. Ky. July 20, 2006). In American Family Mutual Insurance

   Company v. Schulz, a district court in Illinois dismissed the claim because the federal statute

   under which the action was brought limited jurisdiction to state court. See Case No. 13–cv–8011,

   2014 WL 5333499 at *2 (N.D. Ill. Oct. 20, 2014). Similarly, in Missouri ex rel. Carnahan v. Stifel,

   Nicolaus & Co., a district court in Missouri remanded the claim to state court because the federal

   statute under which the action was brought precluded the defendants from removing the action to

   federal court. See 648 F. Supp. 2d 1095, 1099 (E.D. Mo. 2009), order clarified (Aug. 7, 2009).

   None of these cases supports BMW’s contention that state legislatures have the power to erode

   the jurisdiction of federal courts.

           To the contrary, BMW ignores binding Eleventh Circuit precedent that is directly on point.

   In Menchise v. Akerman Senterfitt, the Eleventh Circuit held as follows:

           Steffen also argues that the plain language of section 768.79 [the Florida offer of
           judgment statute] precludes its application to actions filed in federal court.

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           […E]ven if we were to read “filed in the courts of [Florida]” as an attempt by the
           Florida legislature to limit the application of section 768.79 to actions brought in
           Florida courts, that attempt would fail because Florida cannot discriminate against
           a federal forum. Under the Supremacy clause of the Constitution, a state can
           discriminate neither against a federal cause of action, nor against a party’s resort to
           a federal forum. When federal courts apply state law, whether in bankruptcy
           or diversity, they do so as a matter of federal policy that cannot be disfavored
           by a state.

   532 F.3d 1146, 1150-51 (11th Cir. 2008) (emphasis added). Consistent with Menchise, the Court

   should read § 320.695 to allow aggrieved parties to file claims in federal district court in Florida

   when diversity jurisdiction exists – as it undisputedly does here. United States District Courts in

   Florida are “courts of Florida because they adjudicate claims under Florida law and are part of the

   judicial system in that state.” Id.

           In sum, federal courts have routinely exercised subject matter jurisdiction over § 320.695

   claims, and the Court should do so again here. See, e.g., Central Buick, GMC, Inc. v. General

   Motors, LLC, Case No. 8:15–cv–2393–T–27AAS, 2017 WL 2819807, at *1 (M.D. Fla. June 28,

   2017) (dealer plaintiff brought a single count complaint for injunctive relief under § 320.695, and

   defendant removed the action on the basis on diversity jurisdiction). BMW itself has asserted in

   prior cases that this Court has subject matter jurisdiction over § 320.695 claims. There is simply

   no support for BMW’s arguments.

                                             CONCLUSION

           For these reasons, the Motion should be denied.



   Dated: March 7, 2023
                                                  Respectfully submitted,

                                                         COLSON HICKS EIDSON, P.A.
                                                         255 Alhambra Circle
                                                         Coral Gables, FL 33134
                                                         Tel: (305) 476-7000

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                                             By: /s/ Curtis Miner
                                             Roberto Martínez
                                             Florida Bar # 305596
                                             bob@colson.com
                                             Curtis Miner
                                             Florida Bar # 885681
                                             curt@colson.com

                                             ARENTFOX SCHIFF LLP

                                             By:/s/ Charles Gallaer
                                             Russell P. McRory (Pro Hac Vice)
                                             Michael P. McMahan (Pro Hac Vice)
                                             Charles A. Gallaer (Florida Bar # 117729)
                                             Daisy M. Sexton (Pro Hac Vice)
                                             1301 Avenue of the Americas, Fl. 42
                                             New York, NY 10019
                                             Tel: (212) 484-3900
                                             Fax: (212) 484-3990
                                             russell.mcrory@arentfox.com
                                             michael.mcmahan@arentfox.com
                                             charles.gallaer@arentfox.com
                                             daisy.sexton@arentfox.com

                                             David S. Leibowitz
                                             General Counsel
                                             Brian J. Shack
                                             Associate General Counsel
                                             Braman Management Association
                                             2060 Biscayne Blvd, Second Floor
                                             Miami, FL 33137
                                             davidl@bramanmanagement.com
                                             bshack@bramanmanagement.com

                                             Counsel for Plaintiffs




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